           Case 2:07-cr-00229-KJM Document 67 Filed 08/21/09 Page 1 of 1


 1
 2
 3
 4
 5
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10                               ----oo0oo----
11 UNITED STATES OF AMERICA,
                                            NO. CR. S-07-0229 FCD
12             Plaintiff,
13        v.                                ORDER
14 RONALD W. GROVES, and
     DONALD C. MANN,
15
               Defendants.
16
17                               ----oo0oo----
18
19        IT IS HEREBY ORDERED that defendants shall not file any
20 documents pertaining to their civil action in the Superior Court
21 District of Columbia, civil case number 09CA005865B, in this
22 criminal action.
23        IT IS FURTHER ORDERED that the Clerk’s Office shall
24 disregard and not file any documents pertaining to defendants’
25 civil action in this case.
26        IT IS SO ORDERED.
27 DATED: August 20, 2009
                                      FRANK C. DAMRELL, JR.
28                                    UNITED STATES DISTRICT JUDGE

                                        1
